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                                                                                            June 09, 2020
                                                                                      CLERK, U.S. DISTRICT CLERK
                                UNITED STATES DISTRICT COURT                          WESTERN DISTRICT OF TEXAS
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                                                                                      BY ________________________
                                 WESTERN DISTRICT OF TEXAS                                                   DEPUTY
                                       WACO DIVISION

    UNITED STATES OF AMERICA and
    COMMONWEALTH OF MASSACHUSETTS
    ex rel. JAIDEEP S. CHAWLA,
                                                        6:20-CV-362-ADA-JCM
                  Plaintiffs,

          v.                                            FILED UNDER SEAL

    INTERNAL REVENUE SERVICE, et al.,

                  Defendants.


                            UNITED STATES’ MOTION TO DISMISS
         The United States respectfully requests that the Court dismiss this frivolous qui tam

action, which is a retread of a prior qui tam filed by relator in another district.1 That prior action

was dismissed with prejudice under Rule 41(b) for lack of prosecution, noncompliance with

court orders, and “other aggravating circumstances.” See U.S. ex rel. Chawla v. IRS, No. 1:19-

CV-11283-NT, slip op. at 4 (D. Mass. Jan. 17, 2020); see also U.S. ex rel. Chawla v. IRS, No.

1:19-CV-11283-NT, 2020 WL 1930473 (D. Mass. Apr. 20, 2020) (denying Rule 59(e) motion to

alter or amend judgment). Relator offers no reason why his obviously meritless claims should be

given another airing before this Court. See Nagle v. Lee, 807 F.2d 435, 442–43 (5th Cir. 1987)

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      Although relator’s allegations are wide-ranging, the crux of his complaint is that President
      Barack Obama was the leader of a criminal enterprise involved in distributing narcotics,
      laundering money, rigging state and federal court systems, and conspiring to murder the late
      Justice Antonin Scalia. See Am. Compl. at 93–106, 260–61. The participants in this criminal
      enterprise allegedly caused the collapse of Lehman Brothers, which was relator’s employer,
      and then deleted relator’s emails to destroy evidence of this unlawful scheme. Id. at 109–14.
      According to relator, the ensuing financial crisis—coupled with the late Senator John
      McCain’s agreement to sabotage his presidential campaign—diverted attention from the fact
      that then-Senator Obama was ineligible to be President of the United States. Id. at 114.
      Relator asserts that President Obama is not a natural-born citizen of the United States, that
      his birth certificate is a forgery, and that every judicial commission he signed is null and
      void. Id. at 114–17.
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(dismissal with prejudice under Rule 41(b) for failure to prosecute is a final judgment on the

merits that bars a subsequent action under doctrine of res judicata).

        In any event, the United States has no interest in intervening to pursue relator’s farcical

allegations, and the law does not permit a pro se party to advance such allegations on the United

States’ behalf. Because the United States relies on relators to faithfully and adequately represent

its interests when it declines to intervene in a qui tam action, it insists they be represented by

counsel. See U.S. ex rel. Brooks v. Ormsby, 869 F.3d 356, 357 (5th Cir. 2017) (“[R]egardless of

the right of anyone to represent himself pro se, he is not representing himself when he brings an

action solely as relator for . . . the United States, and therefore cannot do so pro se.”); U.S. ex rel.

White v. The Apollo Grp., Inc., No. EP-04-CA-452-DB, 2006 WL 487853, at *3 (W.D. Tex. Jan.

6, 2006) (“A pro se relator cannot prosecute a qui tam action because policy considerations

forbid litigants to be represented by non-lawyers.”). As another court recently noted:

        Whenever a relator brings a qui tam suit to court, the government’s interest in the
        action comes along for the ride. Even if the United States does not intervene in a
        qui tam action . . . , [it] is bound by the relator’s actions for purposes of res judicata
        and collateral estoppel. If we were to allow a qui tam plaintiff to proceed pro se,
        the government could be bound by an adverse judgment in the action. Moreover,
        because the FCA only allows for one person to bring a qui tam action based on the
        specific underlying facts, allowing a pro se relator to pursue a claim could very well
        prevent another better-equipped plaintiff from pursuing the claim.
Wojcicki v. CANA/SCE&G, 947 F.3d 240, 244 (4th Cir. 2020) (quotation marks and citations

omitted). These concerns justify dismissal of this action regardless of the United States’ views of

the merits. See, e.g., U.S. ex rel. Mesi v. Nat’l Default Servicing Corp., No. 3:15-CV-00508-RCJ-

VPC, 2017 WL 3749677, at *2 (D. Nev. Aug. 30, 2017) (granting motion to dismiss because “a

pro se litigant may not pursue [qui tam] actions on behalf of the Government”).

        Were that not enough, most of the parties named as defendants are immune from suit in a

qui tam action brought on behalf of the United States. Relator filed this action against, among

others, the Internal Revenue Service, the Department of Justice, two former Presidents, three


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United States Senators, six Members of the House of Representatives, the Chief Justice of the

United States and three Associate Justices of the Supreme Court, and various other federal

judges (including in this district and the Fifth Circuit). But the United States remains the real

party in interest in a qui tam action, see United States v. Tex. Tech Univ., 171 F.3d 279, 289 (5th

Cir. 1999), and it is axiomatic “the United States cannot sue itself,” Coleman v. U.S. Dep’t of the

Air Force, No. SA-98-CA-0212-OG, slip op. at 1 (W.D. Tex. June 3, 1998) (dismissing qui tam

action against federal agency). For this reason, a relator cannot assert qui tam claims against the

head of a federal agency, Doe v. Doe, 134 F. App’x 229 (10th Cir. 2005), or against federal

employees acting within the scope of their employment, U.S. ex rel. Lachkovich v. United Parcel

Serv., Inc., Civ. A. No. 01-2574 (RCL), slip op. at 3 (D.D.C. Jan. 9, 2003) (Lamberth, J.). And

“[n]o court shall have jurisdiction over [a qui tam] action . . . against a Member of Congress [or]

a member of the judiciary[.]” 31 U.S.C. § 3730(e)(2).2

       Although dismissal of this action is warranted for any of the reasons outlined above, the

False Claims Act itself further provides that “[t]he Government may dismiss [a qui tam] action

notwithstanding the objections of the [relator] if the [relator] has been notified of the filing of the

motion and the court has provided the [relator] an opportunity for a hearing on the motion.” 31

U.S.C. § 3730(c)(2)(A); see also U.S. ex rel. May v. City of Dallas, No. 3:13-CV-4194-N-BN,


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    In addition to his allegations under the False Claims Act, relator purports to assert common
    law causes of action and violations of other state and federal statutes, including the Freedom
    of Information Act, 5 U.S.C. § 552; the Racketeer Influenced and Corrupt Organizations Act,
    18 U.S.C. §§ 1961 et seq.; and the Sherman Antitrust Act, 15 U.S.C. §§ 1 et seq. These
    claims must be dismissed for the additional reason that private parties cannot bring qui tam
    claims under these statutes or the common law. See U.S. ex rel. Ligai v. ETS-Lindgren Inc.,
    No. CIV.A. H-112973, 2014 WL 4649885, at *15 (S.D. Tex. Sept. 16, 2014) (relators are not
    permitted to “bring claims under the common law or other statutes, even if the claims relate
    to the same events”), aff’d sub nom. U.S. ex rel. Ligai v. ESCO Techs., Inc., 611 F. App’x
    219 (5th Cir. 2015); U.S. ex rel. Gonzalez v. Fresenius Med. Care N. Am., No. EP-07-CV-
    247-PRM, 2008 WL 4277150, at *8 (W.D. Tex. Sept. 2, 2008) (“[R]elators cannot pursue
    common law causes of action on behalf of the Government.”).


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2014 WL 5454819, at *4 (N.D. Tex. Oct. 27, 2014) (“[T]he hearing requirement is satisfied by

allowing the relator an opportunity to submit a response to the motion.”). This provision affords

the Government “an ‘unfettered right’ to dismiss a qui tam action filed on its behalf,” based on

the “historical prerogative to decide which cases should go forward in the name of the United

States.” U.S. ex rel. Little v. Rolls-Royce N. Am., Inc., No. 1:19-CV-5-RP, slip op. at 6 (W.D.

Tex. Oct. 3, 2019) (quoting Swift v. United States, 318 F.3d 250, 252–53 (D.C. Cir. 2003));

accord U.S. ex rel. De Sessa v. Dallas Cty. Hosp. Dist., No. 3:17-CV-1782-K, 2019 WL

2225072, at *2 (N.D. Tex. May 23, 2019). A court must defer to the Government’s decision to

dismiss an action absent “convincing evidence of fraud on the court or any similar exceptional

circumstance.” Rolls-Royce, slip op. at 6 (quotation marks and ellipses omitted).3

       For the reasons set forth above, and in light of the unfettered discretion afforded to it

under 31 U.S.C. § 3730(c)(2)(A) to determine which cases should go forward in its name, the

United States respectfully requests that the Court dismiss this action. Such dismissal should be

with prejudice to relator as to any claims brought on behalf of the United States, but without

prejudice to the United States as to any such claims. See, e.g., U.S. ex rel. Health Choice

Alliance LLC v. Eli Lilly & Co., Inc., No. 517CV00123RWSCMC, 2019 WL 4727422, *1 (E.D.

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    Although district courts in the Fifth Circuit have granted motions to dismiss based on the
    “unfettered discretion” formulation described above, some other courts require the
    Government to first identify a “valid government purpose” that would be accomplished by
    dismissal. See U.S. ex rel. Sequoia Orange Co. v. Baird-Neece Packing Corp., 151 F.3d
    1139, 1145 (9th Cir. 1998). This “valid government purpose” requirement is not a difficult
    hurdle to overcome: It is enough that dismissal will preserve the United States’ resources by
    relieving it of the obligation to monitor an action post-declination. See id. at 1146 (approving
    district court’s consideration of “the burden imposed by taxpayers by [relator’s] litigation,”
    including “internal staff costs” the Government would incur); U.S. ex rel. Piacentile v.
    Amgen Inc., No. 04 CV 3983 SJ RML, 2013 WL 5460640, at *3 (E.D.N.Y. Sept. 30, 2013)
    (granting motion to dismiss based on Government’s representation that it “prefer[red] to
    avoid expending further resources” on matter); U.S. ex rel. Nicholson v. Spigelman, No. 10 C
    3361, 2011 WL 2683161, at *2 (N.D. Ill. July 8, 2011) (granting motion to dismiss where
    “the burdens on the government of monitoring the case . . . would cost the United States
    more in expenses than it can possibly recover”).


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Tex. Sept. 27, 2019) (granting dismissal “with prejudice as to [relator] and without prejudice as

to the United States”).

Dated: June 9, 2020                           Respectfully submitted,

                                              JOHN F. BASH
                                              United States Attorney

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                                  CERTIFICATE OF SERVICE

        I certify that on June 9, 2020, I caused the foregoing to be served on relator at the below

listed address via first class U.S. mail:

        Jaideep S. Chawla
        12 Lexington Avenue
        Charlestown, MA 02129

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                                              THOMAS A. PARNHAM, JR.
                                              Assistant United States Attorney




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